                              NO. 07-11-00144-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                                 JUNE 3, 2011

                        ______________________________


                        RICHARD WAYNE DEMPS, APPELLANT

                                      V.

                       MARK S. SNODGRASS, P.C., APPELLEE


                       _________________________________

               FROM THE 72[ND] DISTRICT COURT OF LUBBOCK COUNTY;

            NO. 2010-552,407; HONORABLE RUBEN GONZALES REYES, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Appellant, Richard Wayne Demps, an inmate proceeding pro se and in forma pauperis, filed this appeal from the trial court's summary judgment in favor of Appellee, Mark S. Snodgrass, P.C.  By letter dated April 12, 2011, this Court advised Demps that a filing fee of $175 was overdue and also noted that failure to make payment within ten days might result in dismissal of the appeal.  Demps did not respond nor pay the filing fee.  In the interest of justice, by letter dated May 5, 2011, this Court gave Demps a second opportunity to cure the defect by filing an affidavit of indigence in compliance with Rule 20.1(c) of the Texas Rules of Appellate Procedure on or before May 25, 2011.  See Higgins v. Randall County Sheriff's Office, 193 S.W.3d 898, 899 (Tex. 2006).  He was again admonished that failure to comply might result in dismissal.  Tex. R. App. P. 42.3(c).  Demps did not respond to this second letter, pay the filing fee, nor file an affidavit of indigence.  
	Accordingly, this appeal is dismissed for failure to comply with a directive from this Court requiring action within a specified time.
							Patrick A. Pirtle
							      Justice


